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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

RACHAEL M. YOUSE a/k/a : DOCKET NO.
RACHAEL M. PLANK :
16143 Vancil Loop SE
Yelm, WA 98597
Plaintiff

vs.

ALBRIGHT COLLEGE : JURY TRIAL DEMANDED
1621 N 13th Street :
Reading, PA 19604
and
JAMES GAFFNEY,
2606 Hill Road
Reading PA 19606
Defendants

COMPLAINT

L TION

1. This is an action by the Plaintiff, a college student who was sexually harassed

by a College Professor, Defendant James Gaffney who had been employed by the Defendant

Albright College despite his having a poor history of relationships with students and/or

college students and other colleges namely Penn State Berks Campus and Reading Area

Community College and who was a defrocked Catholic Priest, despite the policies and

procedures of Albright College at the time he was employed and during which time he

threatened the Plaintiff concerning her grades if she was not cooperative with his sexual

desires.

 
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JURISDICTION and VENUE
2. The Court has jurisdiction pursuant to the provisions of 20 USC §1231 and
more particularly Title IX, 20 USC § 1681.
3. Venue is proper because all of the events which allege to have occurred have

occurred within the Eastern District of Pennsylvania.

PARTIE.
4. The Plaintiff herein incorporates the provisions of paragraphs 1 through 3
above as if set out in detail herein.
5. The Plaintiff is Rachael M. Youse (hereinafter referred to as "Plaintiff") an

adult individual whose address is 16143 Vancil Loop SE, Yelm, WA 98597.

6. The Defendant is Albright College, is a private co-Educational Liberal Arts
College whose address is 1621 N 13th Street, Reading, Pennsylvania 19604.

7. The Defendant is James Gaffney (hereinafter referred to “Defendant
Gaffney"), an adult individual whose last known address is 2606 Hill Road, Reading, PA
19606.

RESPONDENT SUPERI

8. The Plaintiff believes and therefore avers that at all times relative to the facts
in this case, that the Defendant Albright College employed the Defendant Gaffney as an
instructor, assistant professor, associate professor, and/or professor during the school year

2016 through the spring term of 2017.

 
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9. At all times, the Plaintiff believes and therefore avers, the Defendant Albright
College had direction and/or control of the activities of the Defendant Gaffney while he
taught students at Albright College.

10. At all times relevant to the facts in this case, the Plaintiff believes and
therefore avers that the Defendant Albright had policies and procedures which were part of
the requirements for instructors, assistant professors, associate professors and professors

when teaching students in an academic atmosphere.
TEMENT OF CLAIM.

11. _—‘ The Plaintiff herein incorporates the provisions of paragraphs 1 through 10
above as if set out in detail herein.

12. Onor about August 2016, the Plaintiff enrolled at Albright College in Reading,
PA.

13. At all times relevant to the facts in this case, the Defendant Gaffney was an
instructor, assistant professor, an associate professor and/or Professor at Albright College.

14. ‘At all times relevant to the facts in this case Albright College, the Plaintiff
believes and therefore avers, had policies, procedures, and student manuals which were
published for the College and were in affect concerning the relationship between students

and faculty while students are enrolled at Albright College.

EGLIGENT HIRE

15. =‘ The Plaintiff herein incorporates the provisions of paragraphs 1 through 14

above as if set out in detail herein.

 
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16. The Plaintiff believes and therefore avers that the Defendant Gaffney was a
defrocked Catholic Priest who had a history of inappropriate relationships with students as
a former faculty member at Reading Central Catholic High School, Pennsylvania State
University, Reading Area Community College and as a Priest in Catholic Church.

17. The Defendant Gaffney's past history was well known and/or should have
been well known when even a simple search on "Google" would reveal his past history
when working with school and/or college students and the Catholic Church as a Priest.

18. Despite the Defendant Gaffney's public history of dealing with students
and/or young people, the Defendant Albright College deliberately and intentionally chose
to employ him to teach students and to place students in the dangerous position of having
to attend classes with the Defendant Gaffney as their "teacher", "professor" and be
dependent, as the Defendant Gaffney told the Plaintiff that she was "dependent upon him
for grades."

FACTUAL EVENTS

19. _—‘ The Plaintiff herein incorporates the provisions of paragraphs 1 through 18
above as if set out in detail herein.

20. ‘The Plaintiff enrolled at Albright College and began attending classes during
August/September 2016.

21. The Plaintiff as part of her courses attended an English course taught by
Defendant Gaffney.

22. Beginning on or about December 15, 2016 and continuing until the end of the
Spring Semester the Defendant Gaffney deliberately and intentionally contacted the

Plaintiff and:

 
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a) made lewd and suggestive comments to her;
b) suggested to the Plaintiff that they meet at various off sites locations
including but not limited to building which he owned;
c) threatened her by reminding her that he controlled her grades;
d) other inappropriate advances and activities between a teacher in
authority and a student all of which constituted serious misconduct.
REPORT TQ THE COLLEGE

23. ‘The Plaintiff herein incorporates the provisions of paragraphs 1 through 22
above as if set out in detail herein.

24. Asa result of all of the above, the Plaintiff reported the Defendant Gaffney's
activity to the College Dean Crance, whom the Plaintiff believes and therefore avers was at
all time was acting on behalf of the Defendants Albright, and who refused to meet with the
Plaintiff and her attorney in order to resolve the matter.

25. When the Plaintiff sought counseling from the College, the College by and
through Dean Crance refused to do so unless the Plaintiff paid for the counseling.

26. In addition, another faculty member told the Plaintiff to "be quiet" about the
incidents because the allegations would not be "good" for the college's reputation.

27. In the fall of 2017, the Plaintiff enrolled for the fall semester at the
Defendant's facility; however, she was unable to attend all but a minimal number of classes
as a result of her psychological trauma for the past incidents with the Defendant Gaffney

and the attitudes of the Defendant Albright and its faculty.

 

 
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DAMAGES

28. The Plaintiff herein incorporates the provisions of paragraphs 1 through 27
above as if set out in detail herein.

29. Solely as a result of all of the above, the Plaintiff has suffered the following:

a) she has been psychologically forced to withdraw from college and not
to complete her college education;

b) she is significantly traumatized and has a fear of all people in
authority positions;

c) she incurred costs in excess of Twenty Thousand ($20,000.00) Dollars
for tuition and fees for courses that she was not able to attend because of psychological
damage;

RE T FOR ATTORNEY'S FE.

30.‘ The Plaintiff herein incorporates the provisions of paragraphs 1 through 29
above as if set out in detail herein.

31. Solely because of all of the above and the fact that despite the inappropriate
actions by the Defendant Albright College and the Defendant Gaffney and willful refusal by
the Defendant Albright College to provide any counseling and/or any other appropriate
treatment for the Plaintiff and the fact that the College continues to pursue costs and fees
against the Plaintiff, despite her psychological trauma which was inflicted upon her by the
feasance and nonfeasance of the Defendant Albright and the aggressive authoritarian

conduct by the Defendant Gaffney, the Plaintiff was required to obtain counsel in order to

 
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address her injuries and incur reasonable attorney's fees and cost for having to bring this
action.

WHEREFORE, for all of the above reasons, the Plaintiff respectfully prays
this Honorable Court to:

A. Award the Plaintiff actual damages, as well as damages for the
pain, suffering and humiliation caused by the Defendants’ actions and/or inactions;

B. Award the Plaintiff punitive damages as permitted by
applicable law in an amount believed by the Court for trier of fact to be appropriate to
punish Defendants for the willful deliberate, malicious, negligent, and outrageous conduct
and to deter the Defendant Albright from engaging in such willful and/or negligent
misconduct in the future;

C. Accord the Plaintiff other equitable and legal relief as the Court
deems just, proper and appropriate;

F. enter judgment for the Plaintiff and against the Defendants
Albright College and James Gaffney in an amount in excess of One Hundred Thousand

($100,000.00) Dollars, plus costs and attorney's fees.

Respectfully submitted by,

ary
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